       Case 4:18-cv-02386 Document 1 Filed on 07/11/18 in TXSD Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

  GLENN BROOKS                                    §
      Plaintiff,                                  §
                                                  §
                                                  §
                                                  §            CIVIL ACTION NO.:
                                                  §
  v.                                              §
                                                  §
                                                  §
 BAYVIEW LOAN SERVICING LLC,                      §
 FEDERAL HOME LOAN MORTGAGE                       §
 CORPORATION                                      §
       Defendant(s).                              §
                                                  §



 FEDERAL HOME LOAN MORTGAGE CORPORATION’S NOTICE OF REMOVAL

       Notice is hereby given that pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446 that

Defendant Federal Home Loan Mortgage Corporation (“FHLMC”) files this its Notice of

Removal and removes this action from the 239TH Judicial District Court, Brazoria County,

Texas, to the United States District Court for the Southern District of Texas, Houston Division,

as follows:

                              I.     STATE COURT ACTION

       1.     On June 27, 2018 Plaintiff Glenn Brooks filed its live petition (hereinafter “the

Petition”) in the 239TH Judicial District Court, Brazoria County, Texas styled GLENN BROOKS

vs. Bayview Loan Servicing LLC, Federal Home Loan Mortgage Corporation and bearing Cause

No. 97499-CV.

       2.     The lawsuit relates to foreclosure proceedings of residential mortgage securing

payment of a Note and encumbering the property identified by street address as at 10010
       Case 4:18-cv-02386 Document 1 Filed on 07/11/18 in TXSD Page 2 of 5




Highway 36, Freeport, TX 77541 (the “Property”). In the State Court Action, Plaintiff seeks

declaratory, injunctive and other relief seeking to prevent its eviction from the Property and also

seeks to be declared as fee simple owner, and seeks the removal of others’ rights to and interest

in the Property. Plaintiff asserts claims to set aside the foreclosure sale of the Property and to

quiet title to the Property.

                           II.      PROCEDURAL REQUIREMENTS

        3.      This action is properly removed to this Court because the State Court Action is

pending within this Court’s district and division.1

        4.      The United States District Court for the Southern District of Texas, Houston

Division has jurisdiction over this action because FHLMC is a Defendant in the State Court

Action and this Court the court has original jurisdiction over any civil action to which FHLMC is

a party.2

        5.      FHLMC was served with citation on July 02, 2018. Upon information and

Defendant Bayview Loan Servicing LLC (“Bayview”) was also served with citation on July 02,

2018. Bayview consents to removal. (Exhibit D).

        6.      This Notice of Removal is timely under 12 U.S.C. § 1452(f)(3) because

FHLMC’s charter unequivocally provides the option to remove up to the time of trial.3

        7.      Pursuant to 28 U.S.C. § 1446(a) and Southern District of Texas Local Rule LR81,

this Notice of Removal is accompanied by copies of the following materials:

1
    See 28 U.S.C. § 1441; 28 U.S.C. § 124(b)(2).
2
    The FHLMC charter deems “all civil actions to which” FHLMC is a party to arise under the laws of
    the United States and confers jurisdiction over those actions to this Court. 12 U.S.C. § 1452(f)(2).
    Accordingly, the federal District Court has original jurisdiction over any “civil action, suit or
    proceeding” where FHLMC is the plaintiff. See 28 U.S.C. § 1345; see also Frank v. Bear Stearns &
    Co., 128 F.3d 919, 924 (5th Cir. 1997), as amended on denial of reh'g (Dec. 19, 1997) citing 12
    U.S.C § 1452(f) (“Furthermore, Congress explicitly vested jurisdiction in the district courts over
    cases to which Freddie Mac is a party.”).
3
    See 12 U.S.C. § 1452(f)(3) (“[A]ny civil or other action ... to which the Corporation is a party may at
    any time before the trial thereof be removed...”) (emphasis added).
      Case 4:18-cv-02386 Document 1 Filed on 07/11/18 in TXSD Page 3 of 5




Exhibit A:         Civil Cover Sheet and Supplemental Civil Cover Sheet;

Exhibit B:         Index of Documents;

Exhibit C:         State court docket sheet for Case No. 97499-CV;

Exhibit C-1:       Register of Actions for Case No. 97499-CV;

Exhibit C-2:       Plaintiff’s Original Petition and Case Information Sheet (Filed June 27, 2018);

Exhibit C-3:       Proposed Order (Filed June 27, 2018);

Exhibit C-4:       Request (Filed June 27, 2018);

Exhibit C-5:       Certificate (Filed June 28, 2018);

Exhibit C-6:       Temporary Restraining Order (Filed June 28, 2018);

Exhibit C-7:       Green Cards (Filed July 05, 2018);

Exhibit C-8:       Defendant Federal Home Loan Mortgage Corporation’s First Original Answer

                   (Filed July 10, 2018);

Exhibit C-9:       Defendant Bayview Loan Servicing LLC’s First Original Answer (Filed July

                   11, 2018);

Exhibit D:         Consent to Removal of Defendant Bayview Loan Servicing LLC;

Exhibit E:         List of All Counsel of Record.




       8.      Simultaneously with the filing of this Notice of Removal, Defendant FHLMC is

filing copies of the Notice of Removal in the 239th Judicial District Court of Brazoria County

Texas, pursuant to 28 U.S.C. § 1446(d). Defendant FHLMC will promptly give all parties

written notice of the filing of this Notice of Removal as required by 28 U.S.C. § 1446(d).
      Case 4:18-cv-02386 Document 1 Filed on 07/11/18 in TXSD Page 4 of 5




                                   III.    CONCLUSION

          WHEREFORE, Defendant FHLMC removes this action from the 239th Judicial District

Court of Brazoria County, Texas to the United States District Court for the Southern District of

Texas, Houston Division, so that this Court may assume jurisdiction over the cause as provided

by law.




                                                   Respectfully Submitted,

                                                   JACK O’BOYLE & ASSOCIATES


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                                                   ATTORNEYS FOR FEDERAL HOME
                                                   LOAN MORTGAGE CORPORATION
      Case 4:18-cv-02386 Document 1 Filed on 07/11/18 in TXSD Page 5 of 5




                               CERTIFICATE OF SERVICE

       This is to certify that a true, correct and complete copy of the foregoing document has

been served in accordance with the Federal Rules of Civil Procedure on July 11, 2018 to:

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                                                    /s/ Travis H. Gray
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